                               NO. 07-10-0275-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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JULY 30, 2010
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                               GERALD BROWDER,  
                                       
                                  	Appellant 
                                      v.
                                       
JAMES LOWELL PENTON, JR., AS THE INDEPENDENT EXECUTOR OF THE ESTATE OF JAMES LOWELL PENTON, DECEASED,  
                                       
                                   	Appellee
                         _____________________________
                                       
                   FROM THE PROBATE COURT OF DENTON COUNTY;
                                       
           NO. PR-2008-00217-02; HONORABLE DON R. WINDLE, PRESIDING
                        ______________________________

                             Abatement and Remand
                        ______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
	Gerald Browder, appellant, appeals a judgment of the Probate Court of Denton County in favor of James Lowell Penton, Jr., as the Independent Executor of the Estate of James Lowell Penton, deceased, appellee.  On July 20, 2010, appellant and appellee, through their counsel, filed a joint motion to abate the appeal and permit proceedings in the trial court to effectuate a settlement agreement.  See Tex. R. App. P. 42.1(a)(2)(C) (authorizing same).  The parties have reached an agreement to settle and compromise their differences and disputes, not only on the issues which are the subject of this appeal, but also in collateral proceedings.
Accordingly, the cause is remanded to the Probate Court for Denton County, Texas (trial court) to effectuate the purported settlement under the guidance of the trial court.  The latter is directed to execute those orders it deems necessary to that end.  A copy of any orders executed must then be included in a supplemental clerk's record and delivered to this court on or before August 30, 2010, along with the joint motion of the parties requesting the reinstatement and dismissal of the appeal.  Should such a motion not be received by that date, the appeal will be dismissed for want of prosecution.
	It is so ordered.

							Per Curiam
